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                                                               U.S. Department of Justice
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Chrlst",e Duey                                                 Suite   .Jon                               DIRECT: .J 10.209 •./855
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                                                               July 3, 2018

Katherine Tang Newberger                                                                         __       FILED     __       ENTERED
Assistant Federal Public Defender                                                            __           LOGGED    __       RECEIVED

Office of the Federal Public Defender for the District of Maryland
100 S. Charles Street. Tower II. 9th Floor                                                               JUL 16 2018
Baltimore, Maryland 2120 I
                                                                                                            AT GREENBELT
                                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                                        DISTRICT OF MARYLAND
                                                                                                                                     #     .
           Re:        Uniled Slales 1'. Donald Marcel Riwrs .Ir.
                                                                                            BY                                       DEPllTY
                      Criminal No. DKC 18-0066

Dear Ms. Newberger:

        This letter, together with the Sealed Supplement, confirms the plea agreement (this
"Agreement") that has been offered to your client, Donald Marcel Rivers Jr. (hereinafter
"Defendant"), by the United States Attorney's Office for the District of Maryland ("this Office").
If the Defendant accepts this offer, please have him execute it in the spaces provided below. If
this offer has not been accepted by July 16,2018. it will be deemed withdra\\TI. The terms of the
Agreement are as follows:

                                                Offenses of Conviction
                                                                                                          S~Y-~;f')q
I.      The Defendant agrees to plead guilty to Counts Two and Three of th1-lndlctment noW"
pending against him which charges him respectively with Armed Bank Robbery. in violation of
18 U.S.c. SS 2113(a), (d) & (I); and Brandishing a Firearm During a Crime of Violence, in
violation of 18 U.S.c. S 924(c) and S 2. The Defendant admits that he is, in fact, guilty of these
offenses and will so advise the Court.

                                               Elements of the Offenses

2.      The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows:

           a.         Count Two (Armed Bank Robbery):

            (i)   The defendant took money that was in the care, custody or possession of
BB&T Bank from employees of the bank, while the employees were present; and

                      (ii)        The defendant uscd force and violence or intimidation; and




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                   (iii) The defendant intentionally put the life of the employees injeopardy by the
    use of a dangerous weapon while taking the money; and

                  (iv)     The deposits of BB&T Bank were then insured by the Federal Deposit
    Insurance Corporation.

            b.       Count Three (Brandishing of a Firearm During a Crime of Violence)

                  (i)     The defendant committed the elements of a crime of violence (Armed Bank
    Robbery, as charged in Count Two) prosecutable in federal court; and

                     (ii)       The defendant knowingly used, carried and brandished a firearm; and

                   (iii)  The use or carrying of the firearm was during and in relation to, the
    defendant's crime of violence.

                                                    Penalties

    3.     The maximum penalties provided by statute for the offenses to which the Defendant is
    pleading guilty are as follows:

     COUNT STATUTE                MAND.MlN.          MAX           MAX           MAXFlNE        SPECIAL
                                  IMPRlSON-       IMPRlSON-     SUPERVISED                      ASSESS-
                                    MENT             MENT        RELEASE                         MENT
        2         18 U.S.C.           none          25 years      5 years         $ 250,000       $ 100
                   ~ 2113
                 (a)(d) & (I)
        3         18 U,S,C.          7 years          Life         5 years        $ 250,000       $ 100
                   & 924(c)


            a.      Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole
    discretion to designate the institution at which it will be served.

            b.      Supervised Release: If the Court orders a term of supervised release, and the
    Defendant violates the conditions of supervised release, the Court may order the Defendant
    returned to custody to serve a term of imprisonment up to the entire original term of supervised
    release if permitted by statute, followed by an additional term of supervised release.

           c.     Restitution: The Court may order the Defendant to pay restitution pursuant to 18
    U.S.C. ~~ 3663, 3663A, and 3664.

            d.        Payment: If a fine or restitution is imposed, it shall be payable immediately, unless
    the Court orders otherwise under 18 U.S.C. ~ 3572(d). The Defendant may be required to pay
    interest if the fine is not paid when due.




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         e.      Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

        f.      Collection of Debts: If the Court imposes a fine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant's ability to pay,
and to request and review the Defendant's federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

                                          Waiver of Rights

4.      The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

        a.     If the Defendant had pled not guilty and persisted in that plea, the Defendant would
have had the right to a speedy jury trial with the close assistance of competent counsel. That trial
could be conducted by a judge, without a jury, if the Defendant, this Office, and the Court all
agreed.

         b.      If the Defendant elected a jury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

        c.     If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government's witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

       d.     The Defendant would have the right to testifY in the Defendant's own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testifY. If the



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Defendant chose not to testifY, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant's decision not to testifY.

        e.      If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court's pretrial and trial decisions on ihe admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court's
decisions.

        f.     By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court's questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for peIjury or false statement.

        g.       If the Court accepts the Defendant's plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

        h.      By pleading guilty, the Defendant will also be giving up certain valuable civil rights
and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant's immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant's attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

                             Advisory Sentencing Guidelines Apply

5.      The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. ~ 3551-3742 (excepting 18 U.S.C. ~ 3553(b)(I) and 3742(e» and 28 U.S.C.
~~ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.




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                         Factual and Advisory Guidelines Stipulation

6.      This Office and the Defendant understand, agree and stipulate to the Statement of Facts set
forth in Attachment A hereto, which this Office would prove beyond a reasonable doubt, and to
the following applicable sentencing guidelines factors:

        a.      Pursuant to U.S.S.G. 9 lB1.2(c), this agreement contains a stipulation that
specifically establishes the commission of an additional offense (felon in possession of a firearm
and ammunition) and accordingly, shall be treated as if the defendant had been convicted of that
offense. The armed bank robbery charged in Count Two and the relevant conduct occurred on
separate dates and involved different firearms. Accordingly, separate guidelines for each offense
are calculated below pursuant to the Multiple Count Rules contained in Chapter 3.

        b.     Count Two - Armed Bank Robbery on January 9, 2018 (Group One)

               (i)     Base Offense Level: The base offense level is 20, pursuant to U.S.S.G.      9
2B3. 1(a).
                (ii)   Financial Institution: Pursuant to U.S.S.G. 9 2B3.1(b)(I), there is a two
(2) level increase because property of a financial institution was taken.

               (iii)  Leader and Organizer: It is the government's position that, pursuant to
U.S.S.G. 9 3BI.I(c), there is a two (2) level increase because the defendant was an organizer,
leader, manager, supervisor of any criminal activity. It is the defendant's position that this
subsection does not apply.

                (iv)   Obstruction: It is the government's position that, pursuant to U.S.S.G. 9
3CI.I, there is a two (2) level increase because the defendant willfully obstructed or impeded, or
attempted to obstruct or impede, the administration of justice with respect to the investigation and
prosecution of the instant offense of conviction, and the obstructive conduct related to the
defendant's offense of conviction and any relevant conduct; or a closely related offense. It is the
defendant's position that this subsection does not apply.

               (v)     Subtotal for Group One: Thus, the offense level applicable to the
Defendant's conduct charged in Count Two of the Indictment is 26 (Government's position) and
22 (defendant's position).

       c.      Relevant Conduct - Felon in Possession on November 6, 2017 (Group Two)

                (i)     Base Offense Level: It is the Government's position that, pursuant to
U.S.S.G. 9 2K2.I(a)(2), the base offense level is 24 because the Defendant committed any part of
the instant offense subsequent to sustaining at least two felony convictions of either a crime of
violence or a controlled substance offense. It is the Defendant's position that the Defendant only
had one prior qualifying felony conviction and the base offense level is 20, pursuant to U.S.S.G. 9
2K2.1 (a)(3).




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               (ii)    Subtotal for Group Two: 24 (Government's Position); 20 (Defendant's
position).

        d.     Multiple Counts I Grouping:

               (i)    It is the Government's position that, pursuant to S 3D1.4, Group One (bank
robbery) counts as one unit and Group Two (felon in possession) counts as an additional one unit,
because pursuant to S 3DI.4(a), Group Two is Ito 4 levels less serious than Group One).

                (ii)   Accordingly, it is the Government's position that since the number of units
is two, there is a 2 (two) level adjustment to offense level 26 (Group One), and as such, the
adjusted offense level is 28.

               (iii)  It is the Defendant's position, pursuant to S 3D 1.4, Group One (bank
robbery) counts as one unit and Group Two (felon in possession) counts as an additional \I, unit
because pursuant to S 3DI.4(b), Group Two is 5 to 8 levels less serious than Group One.

                 (iv)    Accordingly, it is the Defendant's position that since the number of units is
 1\1" there is a 1 (one) level adjustment to offense level 22 (Group One), and the adjusted offense
 level is 23.

        e.      This Office does not oppose a two-level reduction in the Defendant's adjusted
offense level pursuant to U.S.S.G. S 3EI.l(a), based upon the Defendant's apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant's criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. S 3EI.l(b) for an additional
one-level decrease in recognition of the Defendant's acceptance of personal responsibility for the
Defendant's conduct. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. S 3EI.l(a) and may decline to make a motion pursuant to U.S.S.G. S 3EI.l(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statements about the Defendant's involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way.

        f.    Accordingly, the final adjusted offense level is either 2S (Government's Position)
or 20 (Defendant's position).

       g.       A minimum sentence of seven (7) years' incarceration is required to run
consecutively to any sentence for Armed Bank Robbery, pursuant to 18 U.S.C. S 924(c)(I)(A)(ii);
924(c)(I)(D)(ii) and U.S.S.G. S 2K2.4(b).

6.      There is no agreement as to the Defendant's criminal history and the Defendant
understands that the Defendant's criminal history could alter the Defendant's offense level.
Specifically, the Defendant understands that the Defendant's criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a


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          part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
          Defendant's income. The Government will contend that the Defendant is a career offender
          pursuant to U.S.S.G. 9 41 B 1.1 and the Defendant contends that the Defendant is not a career
          offender. Alternatively, both parties reserve the right to argue pursuant to U.S.S.G. 9 4A1.3 that
          a departure is warranted based on inadequacy of criminal history category.

          7.      Other than as set forth above, no other offense characteristics, sentencing guidelines
          factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
          are in dispute or will be raised in calculating the advisory guidelines range.

                                 Obligations of the United States Attorney's Office

          8.     At the time of sentencing, this Office and the Defendant reserve the right to advocate for a
          reasonable sentence, period of supervised release, and/or fine considering any appropriate factors
          under 18 U.S.C. 9 3553(a). This Office reserves the right to bring to the Court's attention all
          information with respect to the Defendant's background, character, and conduct that this Office
          deems relevant to sentencing, including the conduct that is the subject of any counts of the
          Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
          the Defendant.

          9.       The Defendant understands that this agreement does not resolve or address in any way any
          other possible offenses involving crimes of violence, narcotics offenses, weapons offenses,
          conspiracy offenses, sex trafficking offenses or tax crimes tkilllM&) mist fi iii Ib feel. ";Plll"h:d!9=
          8)' th= E'er dent 2nd this Office, ntached hCICLU Mid liiC6ip6iatcd bettin, that fohn the t>agis ef'"
          litis plea ul)Ieealcnt. f...

          10.     The defendant understands that he is the target of a homicide investigation. The parties
          agree that no evidence relating to that homicide will be introduced at the defendant's sentencing
          in this case due to the pending nature of the investigation, the fact that he has not been charged
          with that crime, and that no discovery has or will be provided by the government at this time.

           II.     The government reserves the right to present information regarding the defendant's alleged
           involvement in other crimes to include narcotics trafficking, firearms offenses, obstruction of
          justice, and other violent acts. To this end, the government reserves the right tJPresent as evidence
.         the contents ofa cellular teleBP!W~lse~ed from the defendant on August 29, 2017. The defendant
(•...
  ~       moved to suppress the searc?,!n a p~trfa1 ~otion but understands that, since that motion pertains
          to a sentencing issue, he is WIthdrawing that motion as part of this plea agreement, and will inform
~ \       the Court in writing, as such. The defendant reserves his right to make the same or similar
C).a--.   challenge to the use of the cell phone at the sentencing phase of this matter.

                                                   Waiver of Appeal

          12.    In exchange for the concessions made by this Office and the Defendant in this plea
          agreement, this Office and the Defendant waive their rights to appeal as follows:




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        a.       The Defendant knowingly waives all right, pursuant to 28 U.S.C. 9 1291 or any
other statute or constitutional provision, to appeal the Defendant's conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant's conviction on the ground
that the statutes to which the defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statutes;

         b.     The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. 9 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant's criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

               (i)  The Defendant reserves the right to appeal any sentence that exceeds the
statutory maximum; and

                (ii)   This Office reserves the right to appeal any sentence below a statutory
minimum; and

                (iii)   The Defendant reserves the right to appeal the sentence of imprisonment if
the total term of imprisonment exceeds 147 months.

        c.      The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

                             Obstruction   or Other Violations of Law

13.      The Defendant agrees that he will not commit any offense in violation of federal, state or
local law between the date of this agreement and his sentencing in this case. In the event that the
Defendant (i) engages in conduct after the date of this agreement which would justify a finding of
obstruction of justice under U.S.S.G. 9 3CI.I, or (ii) fails to accept personal responsibility for his
conduct by failing to acknowledge his guilt to the probation officer who prepares the Presentence
Report, (iii) moves to withdraw his guilty plea, or (iv) commits any offense in violation of federal,
state or local law, then this Office will be relieved of its obligations to the Defendant as reflected
in this agreement. Specifically, this Office will be free to argue sentencing guidelines factors other
than those stipulated in this agreement, and it will also be free to make sentencing
recommendations other than those set out in this agreement. As with any alleged breach of this
agreement, this Office will bear the burden of convincing the Court of the Defendant's obstructive
or unlawful behavior and/or failure to acknowledge personal responsibility by a preponderance of
the evidence. The Defendant acknowledges that he may not withdraw his guilty plea because this
Office is relieved of its obligations under the agreement pursuant to this paragraph.




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                                        Court Not a Party

14.      The Defendant expressly understands that the Court is not a party to this agreement. In the
federal system, the sentence to be imposed is within the sole discretion of the Court. [n particular,
the Defendant understands that neither the United States Probation Office nor the Court is bound
by the stipulation set forth above, and that the Court will, with the aid of the Presentence Report,
determine the facts relevant to sentencing. The Defendant understands that the Court cannot rely
exclusively upon the stipulation in ascertaining the factors relevant to the determination of
sentence. Rather, in determining the factual basis for the sentence, the Court will consider the
stipulation, together with the results of the presentence investigation, and any other relevant
information. The Defendant understands that the Court is under no obligation to accept this
Office's recommendations, and the Court has the power to impose a sentence up to and including
the statutory maximum stated above. The Defendant understands that if the Court ascertains
factors different from those contained in the stipulation set forth above, or if the Court should
impose any sentence up to the maximum established by statute, the Defendant cannot, for that
reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations under
this agreement. The Defendant understands that neither the prosecutor, his counsel, nor the Court
can make a binding prediction, promise, or representation as to what guidelines range or sentence
the Defendant will receive. The Defendant agrees that no one has made such a binding prediction
or promise.
                                         Entire Agreement

15.      This letter supersedes any prior understandings, promises, or conditions between this
Office and the Defendant and, together with the Sealed Supplement, constitutes the complete plea
agreement in this caSe. The Defendant acknowledges that there are no other agreements, promises,
undertakings or understandings between the Defendant and this Office other than those set forth
in this letter and the Sealed Supplement and none will be entered into unless in writing and signed
by all parties.

       If the Defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and retum it to me promptly.

                                                       Very truly yours,

                                                       Robert K. Hur
                                                       "',,'"   S ~   ,"om~
                                                 By:
                                                          . tine Duey
                                                       Sandra Wilkinson
                                                       Assistant United States Attorneys




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        I have read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

                                                                                    ,
 7-n.-1~                                                 ~
Date                                                 ~RiversJr.
                                                     Defendant

        I am Donald Marcel Rivers Jr.'s attorney. I have carefully reviewed every part of this
agreement, including the Sealed Supplement with him. He advises me that he understands and
accepts its terms. To my knowledge, his decision to enter into this agreement is an informed and
voluntary one.



                                                      atherine Newberge
                                                     Attorney for the Defendan




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